                                                                                                              Case 2:20-cv-00470-GMS Document 46 Filed 09/18/20 Page 1 of 4



                                                                                                         1   David G. Barker (#024657)
                                                                                                             dbarker@swlaw.com
                                                                                                         2   Jacob C. Jones (#029971)
                                                                                                             jcjones@swlaw.com
                                                                                                         3   SNELL & WILMER L.L.P.
                                                                                                             One Arizona Center
                                                                                                         4   400 E. Van Buren, Suite 1900
                                                                                                             Phoenix, Arizona 85004-2202
                                                                                                         5   Telephone: 602.382.6000
                                                                                                             Facsimile: 602.382.6070
                                                                                                         6
                                                                                                             TUCKER ELLIS LLP
                                                                                                         7   David J. Steele (pro hac vice)
                                                                                                             david.steele@tuckerellis.com
                                                                                                         8   Howard A. Kroll (pro hac vice)
                                                                                                             howard.kroll@tuckerellis.com
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         9   Steven E. Lauridsen (pro hac vice)
                                                                                                             steven.lauridsen@tuckerellis.com
                                                                                                        10   515 South Flower Street
                                                                                                             Forty-Second Floor
                                                                                                        11   Los Angeles, CA 90071-2223
                                                                                                             Telephone: (213) 430-3400
                                                                                                        12   Facsimile: (213) 430-3409
TUCKER ELLIS LLP




                                                                                                        13 Attorneys for Plaintiffs,
                                                                                                           Facebook, Inc., Instagram, LLC and
                                                                                                        14 WhatsApp Inc.

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                                                                                                                                    UNITED STATES DISTRICT COURT
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                                                                                                                                               DISTRICT OF ARIZONA
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                                                                                                           Facebook, Inc., a Delaware corporation;        Case No. CV-20-470-PHX-GMS
                                                                                                        18 Instagram, LLC, a Delaware limited liability
                                                                                                           company; and WhatsApp Inc., a Delaware         PLAINTIFFS’ NOTICE OF
                                                                                                        19 corporation,                                   SUPPLEMENTAL AUTHORITY
                                                                                                                                                          REGARDING AMENDED MOTION
                                                                                                        20                       Plaintiffs,              TO DISMISS FOR LACK OF
                                                                                                                                                          PERSONAL JURISDICTION (DOC.
                                                                                                        21         v.                                     31)
                                                                                                        22 Namecheap, Inc., a Delaware corporation, and
                                                                                                           Whoisguard, Inc., a Republic of Panama
                                                                                                        23 corporation,

                                                                                                        24                       Defendants.
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                                                                                                         1         Pursuant to the Court’s request during the hearing on September 18, 2020
                                                                                                         2 (Doc. 42), Plaintiffs Facebook, Inc., Instagram, LLC, and WhatsApp Inc. (“Plaintiffs”)

                                                                                                         3 submit this Notice of Supplemental Authority with the case names and citations that

                                                                                                         4 Plaintiffs discussed during the hearing.

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                                                                                                         6         1. Adams v. Raintree Vacation Exch., LLC, 702 F.3d. 436, 441 (7th Cir. 2012)
                                                                                                         7         2. Dayhoff Inc. v. H.J. Heinz Co., 86 F.3d 1287, 1297 (3rd Cir. 1996)
                                                                                                         8         3. Lipcon v. Underwriters at Lloyd’s, 148 F.3d 1285, 1299 (11th Cir. 1998)
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                                                                                                         9         4. Meyer v. Homedica Osteonics Corp., 2015 WL 728631 at *13 (S.D. Cal. 2015)
                                                                                                        10         5. Burger King v. Rudzewicz, 471 U.S. 462, 472 (1985)
                                                                                                        11         6. Ultratech, Inc. v. Ensure Nanotech, 108 F. Supp. 3d 815, 822 (N.D. Cal. 2015)
                                                                                                        12         7. Products and Ventures, Int’l v. Axus Stationary, 2017 WL 201703 (N.D. Cal.
                                                                                                                      2017)
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                                                                                                                   8. Mazal Grp., LLC v. Barak, 2019 WL 4316244 (C.D. Cal. 2019)
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                                                                                                                   9. Sabre Int’l Security v. Torres Advanced Enterprise Solutions, 60 F. Supp. 3d
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                                                                                                                      21 (D.D.C. 2014)
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                                                                                                             DATED: September 18, 2020       SNELL & WILMER L.L.P.
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                                                                                                         4                                   By: s/David G. Barker
                                                                                                                                             David G. Barker
                                                                                                         5
                                                                                                                                             Jacob C. Jones
                                                                                                         6                                   One Arizona Center
                                                                                                                                             400 E. Van Buren, Suite 1900
                                                                                                         7                                   Phoenix, Arizona 85004-2202
                                                                                                         8
                                                                                                                                             TUCKER ELLIS LLP
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         9                                   David J. Steele
                                                                                                                                             Howard A. Kroll
                                                                                                        10
                                                                                                                                             Steven E. Lauridsen
                                                                                                        11                                   515 South Flower Street
                                                                                                                                             Forty-Second Floor
                                                                                                        12                                   Los Angeles, CA 90071-2223
TUCKER ELLIS LLP




                                                                                                        13
                                                                                                                                             Attorneys for Plaintiffs,
                                                                                                        14                                   FACEBOOK, INC., INSTAGRAM, LLC,
                                                                                                                                             and WHATSAPP INC.
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                                                                                                         1                               CERTIFICATE OF SERVICE
                                                                                                         2          I hereby certify that, on September 18, 2020, I electronically transmitted the
                                                                                                         3   attached document to the Clerk’s Office using the CM/ECF System for filing and
                                                                                                         4   transmittal of a Notice of Electronic Filing to the CM/ECF registrants of record.
                                                                                                         5

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                                                                                                         7   By: s/David G. Barker
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                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




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TUCKER ELLIS LLP




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